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 1                                                 DISTRICT JUDGE RICHARD A. JONES
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                              UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8
     UNITED STATES OF AMERICA,                 )     NO. CR19-0035-RAJ
 9                                             )
                  Plaintiff,                   )     ORDER ON DEFENDANT'S MOTION
10                                             )     FOR LEAVE T O F I L E
                  vs.                          )     COMPASSIONATE RELEASE
11                                             )     M O T I O N INSTANTER AND TO
     NICHOLAS STARTZMAN,                       )     RESET SCHEDULE FOR
12                                             )     GOVERNMENT’S RESPONSE
                  Defendant.                   )     AND DEFENDANT’S REPLY
13                                             )
14         THE COURT having considered the motion to defendant’s Motion For Leave to File
15   Compassionate Release Motion Instanter, and to Reset the Schedule for Government’s
16   Response and Defendant’s Reply, any associated files and documents and the docket, the
17   Court hereby makes the following findings:
18         IT IS THEREFORE ORDERED that defendant NICHOLAS STARTZMAN is
19   hereby given leave to file his Motion for Compassionate Release instanter. The government
20   shall its response by November 3, 2020 and any reply from the defendant is due on
21   November 7, 2020. The motion shall be noted for November 13, 2020.
22          DATED this 21st day of October, 2020.
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                                DISTRICT JUDGE RICHARD A. JONES
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     ORDER ON DEFENDANT’S MOTION                           LAW OFFICE OF TIMOTHY LOHRAFF, P.S.
     FILE MOTION INSTANTER                                                    1001 Fourth Avenue, Suite 3200
                                                                                          Seattle, WA 98154
     (U.S. v. Startzman, CR19-00035-RAJ)                                                     (206) 940-6523
                                                                                     Lohrafflaw@gmail.com
